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                                                    U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York

                                                       86 Chambers Street
                                                       New York, New York 10007

                                                       July 30, 2024
By ECF
The Honorable Philip M. Halpern
United States District Judge
Southern District of New York
300 Quarropas Street
White Plains, New York 10601

          Re:    Students for Fair Admissions v. United States Military Academy at West Point, et
                 al., No. 23 Civ. 8262 (PMH)

Dear Judge Halpern:

        Defendants the United States Military Academy at West Point (“West Point”); Christine
Wormuth, Secretary of the Army; Lieutenant General Steven Gilland, Superintendent of West
Point; and Lieutenant Colonel Rance Lee, Director of Admissions for West Point (together,
“Defendants” or the “Government”) write jointly with Plaintiff Students for Fair Admissions to
respectfully request that the Court enter the parties’ proposed protective order, Dkt. No. 108, and
clawback order, Dkt. No. 109, filed today pursuant to the parties’ Civil Case Discovery Plan and
Scheduling Order, Dkt. No. 103. 1

        The parties respectfully submit that good cause exists to enter the parties’ proposed
protective order, which deviates from the Court’s form order, given the sensitivity of information
and documents that they anticipate exchanging in discovery. For example, Plaintiff anticipates
seeking data exports from West Point’s admissions database, which may include “information
directly related to a student” that is protected by the Family Educational Rights and Privacy Act,
20 U.S.C. § 1232g(a)(4), (b)(2)(B). Pursuant to the parties’ proposed protective order, such
information would be designated “highly protected.” The parties’ proposed protective order is
substantially the same as that entered in Students for Fair Admissions v. The United States Naval
Academy, et al., No. 23 Civ. 2699 (D. Md.), Dkt. No. 63, which was also drafted to protect similar
sensitive information and documents.




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    The parties’ ESI protocol, see Dkt. No. 103, is attached as Exhibit A.
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We thank the Court for its consideration of these requests.

                                         Respectfully,

                                         DAMIAN WILLIAMS
                                         United States Attorney for the
                                         Southern District of New York

                                  By:    /s/ Christopher K. Connolly
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